IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 

IN RE APPLICATION OF CAMERON
FINDLAY FOR AN ORDER UNDER

28 U.S.C. § 1782 TO CONDUCT Misc. Civil Action No. AD MICS
DISCOVERY FOR USE IN FOREIGN
PROCEEDINGS

 

 

DECLARATION OF JAMES MEYER

I. I, James Meyer, pursuant to 28 U.S.C § 1746, declare as follows:

1.1 Jam asolicitor and director of Egan Meyer Limited (“Egan Meyer’), the English
solicitors instructed by the Applicant (“Mr. Findlay”). I, along with my fellow
director Mr. Richard Egan, have the day-to-day oversight of my firm's

engagement with Mr. Findlay, including his involvement in these proceedings.

1.2. Mr. Findlay is a UK citizen. He began his career with the Metropolitan Police
in London, where he spent the majority of his time working as a detective. He
subsequently left that job to become a business and security consultant
specialising in corporate investigations and asset tracing. Following a 10-year
career in that field, he co-founded a music technology company in England and

he continues to work on various business ventures.

1.3. Ihave personal knowledge of the facts set forth herein, which are all true to the

best of my knowledge and belief, except where they have been provided to me

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by my client (and in respect of which privilege is not waived) or I have indicated
that my knowledge is based on public information. I submit this declaration in
support of Mr. Findlay’s application for an order under 28 U.S.C § 1782 (the
“Application”) to conduct discovery for use in contemplated foreign

proceedings,

I should also note that this declaration refers to a number of allegations that have
been made against the Respondents, Dechert LLP (“Dechert”) and Mr Neil
Gerrard (a solicitor and former Partner of Dechert) in separate judicial
proceedings. Although the allegations are, as set out below, very serious, the
parties who have made them appear to have credible evidence in support of them,
some of which I refer to below. Mr Findlay relies on these allegations upon
information and belief in support of this Application. In doing so, I wish to make
clear to this court that these allegations are awaiting final judicial determination

from the relevant courts.

SUMMARY OF MR. FINDLAY’S APPLICATION AND THE RELEVANT PARTIES

This Application seeks discovery from an individual located in this district,
Nicholas Del Rosso, and his company, Vital Management Services Inc, (“Vital’’)
(collectively, “Respondents”), for use in foreign proceedings Mr. Findlay
intends to commence against the individuals and parties he believes hired the
Respondents to help them attempt to steal confidential and proprietary

information from him through a series of spear phishing attacks I describe below.

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The Respondents live in this district and are not expected to be defendants in the

foreign proceedings he is contemplating.

Vital is a company which purports to provide investigative services located at
1340 Environ Way, Chapel Hill, North Carolina 27517. It is my understanding
that Mr. Del Rosso is the president, owner and sole employee of Vital. He resides

in Chapel Hill, North Carolina.

As further explained below, the facts of this case arise out of proceedings brought
in the English courts in which Mr. Findlay acted as a witness, These proceedings
were issued in September 2017 by Eurasian Natural Resources Limited
(“ENRC”) against: its former lawyers, Dechert and -Mr. Neil Gerrard (the
“Dechert Proceedings”). ENRC is a corporation incorporated in England &
Wales and the holding company in a diversified natural resources group with
extensive mining operations. The Dechert Proceedings were heard by a judge in
the English High Court over 11 weeks between May and September 2021. Mr.
Findlay gave evidence at the trial over three days. Judgment, in which ENRC’s
claims were comprehensively upheld by the Court, was handed down in May

2022.

Mr. Findlay seeks discovery for use in support of proceedings he intends to bring
(the “Contemplated Proceedings”) against Mr. Gerrard and Dechert in the

English Courts as a result of, among other things, Mr. Gerrard’s attempts to steal

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confidential information from him by way of phishing! and spear-phishing*
email attacks that occurred during the course of the Dechert Proceedings. As
noted above, Mr. Findlay was due to be a witness for ENRC in the Dechert
Proceedings while the hacking campaign against him was béing waged, Mr,
Findlay considers that the hacking campaign by Mr. Gerrard and Dechert
amounts to an attempt to interfere with the judicial process and his testimony to

the English court. As this court will understand, this is a very serious matter,

As detailed below, Mr, Findlay has a good-faith belief that the Respondents have
documents and information that are relevant to Mr. Gerrard’s efforts to illegally
obtain his confidential information and will be of central importance to the
Contemplated Proceedings (in relation to which see paragraph 6.2 below). Mr.
Findlay therefore seeks in this Application discovery of such documents and

information.

ENRC’S EXISTING CLAIMS AGAINST MR. GERRARD AND DECHERT IN THE
ENGLISH COURTS

Between April 2011 and March 2013, ENRC engaged Mr, Gerrard and Dechert
to conduct certain internal investigations and subsequently to advise ENRC on
its engagement with the UK's Serious Fraud Office (“SFO”) (the “Retainer”).

During the first 15 months of the Retainer:

 

Phishing is the term used for the sending of malicious emails or text messages designed to trick the
recipient into clicking on a link to a website containing malicious software,

Spear-phishing involves the use, in the malicious emails or texts, of information specific to the recipient
which is intended to increase the likelihood of deceiving the recipient.

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(a) Mr. Findlay (who had worked for ENRC independently of Dechert and
Mr, Gerrard on numerous occasions previously) was engaged (through his
company Canani Capital Management AG, which traded as Bridge 2
Limited (“Bridge 2”)) to provide consultancy services to ENRC, in
connection with which he took his day-to-day instructions from Dechert;

and
(b) Mr. Findlay worked closely with Mr. Gerrard.

ENRC later discovered what it alleged was (and what the English court has now
found - in its judgment handed down in May 2022 - to be) highly improper
conduct by Mr. Gerrard and Dechert. ENRC terminated Dechert’s Retainer in
March 2013 and issued the Dechert Proceedings against them in September 2017
in the English Coutts. ENRC claimed in those proceedings that, in the course of
the Retainer, Mr. Gerrard committed multiple dishonest or reckless breaches of
fiduciary, tortious and/or contractual duties to ENRC in order to increase
Dechert's fees and Mr. Gerrard’s personal profits at ENRC’s expense. More

specifically, ENRC alleged, among other things, that Mr. Gerrard:

(a) deliberately leaked ENRC’s confidential and privileged material to the
national press on at least three occasions, knowing that this would be

detrimental to ENRC;

(b) made repeated secret adverse and highly prejudicial disclosures about

ENRC to officers of the SFO, including at clandestine meetings; and

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(c) secretly facilitated an approach to the SFO by a senior ENRC compliance

officer as a whistleblower.

In making the claim that Mr. Gerrard deliberately leaked ENRC information to
the press, ENRC relied in particular on two witness statements Mr. Findlay
submitted to the English Court, and his trial testimony, showing that he and
another ENRC consultant, Robert Trevelyan, had been instructed by Mr. Gerrard
to leak ENRC’s confidential and privileged information to The Times newspaper

in summer 2011 (“The Times Leak’’).

In the judgment handed down by the English Court in the Dechert Proceedings
in May 2022, ENRC’s claims against Mr. Gerrard were comprehensively upheld,
and included findings of “extraordinary” and “almost unimaginable”
misconduct by Mr. Gerrard, including that he had perpetrated The Times Leak
(and later two other leaks) and that he gave wrong advice to ENRC purposefully
to keep Dechert's Retainer going “by scaremongering”. Mr. Justice Waksman
also held that Mr. Gerrard had “lied continuously” in an attempt to cover up his

wrongdoing.?

HACKING ATTEMPTS AGAINST MR. FINDLAY IN 2018
Between 11 April 2018 and 21 June 2018, Mr. Findlay believes that he was
targeted with at least 90 spear-phishing emails (that he identified at the time, but

potentially many more unidentified spear-phishing emails) sent to a business

 

3 (2022) EWHC 1138 (Comm).

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email address he used at that time, “cameron@powerchord.co.uk” (the “Spear-

Phishing Emails”).

Upon Mr. Findlay’s information and belief, the Spear-Phishing Emails were sent

at Mr. Gerrard’s instruction and/or with his involvement in an attempt to:

(a) find out what evidence Mr. Findlay had against Mr. Gerrard to support

The Times Leak allegation and what he had told ENRC; and

(b) intimidate Mr, Findlay into withdrawing his written statements to the

English Court about this issue.

Mr. Gerrard and Dechert’s role in orchestrating the Spear-Phishing Emails is
evident from the timing and content of the Spear-Phishing Emails, as outlined

below,

First, the timing of the Spear-Phishing Emails coincided with Mr. Gerrard’s
attempts to procure Mr. Findlay’s and ENRC’s withdrawal of the allegation that
Mr. Gerrard had instigated The Times Leak, as illustrated by the chronology
below. The information detailed in the chronology below has been provided to

me by my client, Mr. Findlay, and/or is publicly available from court filings.

(a) On 29 January 2018, ENRC issued a claim against Mr. Findlay in the
English Commercial Court for breach of confidence in connection with

Mr. Findlay's role in The Times Leak (the “ENRC-Findlay Proceedings”);

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(b) On 19 February 2018, the ENRC-Findlay Proceedings were settled by
way of a settlement agreement between Mr. Findlay and ENRC. Further
to this settlement, Mr. Findlay provided ENRC with a witness statement
outlining, among other things, his and Mr. Gerrard’s involvement in The
Times Leak (the «2018 Statement”). The fact of the settlement was clear

from a publicly available order of the court;

(c) On 19 and 27 February 2018, Mr. Gerrard’s solicitors, Clyde & Co LLP
(“Clyde & Co”) wrote to Mr. Findlay personally at his home address
notifying him that they were aware of the ENRC-Findlay Proceedings and
asking him whether he had legal representation in those proceedings,
which is indicative of Mr. Gerrard's desire to monitor Mr. Findlay’s

ongoing role in the proceedings;

(d) On 6 March 2018, Mr. Gerrard filed an application to have certain parts
of ENRC’s particulars of claim in the ENRC-Findlay Proceedings
(“Findlay Particulars”) struck out. In a supporting witness statement, Mr.
Gerrard asserted that the Findlay Particulars implicated him in The Times

Leak without explicitly identifying him as the culprit;

(e) On 14 March 2018; ENRC's solicitors, Hogan Lovells International LLP
(“Hogan Lovells”), wrote to Clyde & Co informing them that “significant
new evidence haf{d] come to light” which established that Mr. Gerrard had

instigated The Times Leak;

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(f)  On11 April 2018, Mr. Findlay received (to his knowledge) the first of
the spear-phishing emails, Examples of some of the spear-phishing emails

are contained in Exhibit 1;

(g) On 13 April 2018, Hogan Lovells wrote to Clyde & Co enclosing
amended particulars of claim in the Dechert Proceedings alleging that Mr.

Gerrard had instigated The Times Leak;

(h) On 27 April 2018, Hogan Lovells wrote to Clyde & Co enclosing a
redacted version of Mr. Findlay's 2018 Statement which alleged that Mr.

Gerrard instigated The Times Leak;

(i) Onl May 2018, Clyde & Co wrote to Mr. Findlay’s former solicitors
asking him to withdraw the 2018 Statement, with the threat that a failure
to do so may result in them bringing perjury proceedings against him
(Exhibit'2, page 1). Sitting in the London High Court, Mr. Justice Bryan
subsequently indicated he was “slightly surprised” by the letter and noted
that a threat of this kind "in certain circumstances can itself be contrary
to the solicitors' Code of Conduct" (Exhibit 3 at internal page 92). He
ordered Clyde & Co to give an undertaking to the Court (for its own part)
not to intimidate a further relevant witness in its communications with

him (Exhibit 4); and

(j) On21 June 2018, Mr. Findlay received (to his knowledge) the last of the

Spear-Phishing Emails.

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Second, the Spear-Phishing Emails contained material that seems designed to

threaten and/or intimidate Mr. Findlay and, by elevating the seriousness of the

communications, increased the likelihood that Mr. Findlay would click on the

malicious links and/or intimidate him into withdrawing his allegations

concerning The Times Leak:

(a)

(b)

(c)

(d)

One email purported to be from the UK’s national law enforcement
agency, the National Crime Agency (“NCA”), with the subject line

“You've received a subpoena from the NCA” (Exhibit 1, page 5);

Another email purported to be from the UK Secretary of State for Justice
at the time, the Rt Hon David Gauke MP, and referred to the “Royal
Courts of Justice”, which implies a threat of litigation (Exhibit 1, page

4);

Two emails which purported to have been sent by Mr. Findlay's wife,
which distressed her and Mr. Findlay. Mr. Findlay’s wife’s name was
known to Mr. Gerrard, who had met her and with whom Mr. Findlay had
formed a close friendship with during the Retainer. Mr. Gerrard had
invited Mr. Findlay and his family to visit Mr. Gerrard’s country house

on at least one occasion in 2011;

Three emails purported to relate to an on running set of proceedings
between ENRC and Dechert relating to the fees charged by Dechert for

its Retainer with ENRC, and purported to contain a link to “ENRC

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Dechert Costs Judgment (BRIDGE2 LIMITED)” (Exhibit 1, pages 1-3);

and

(ec) Numerous emails referred to Mr. Findlay’s former businesses, business
partner and associates, implying that the sender had access to non-public
and sensitive commercial information about Mr. Findlay, but that was
known to Mr. Gerrard from their time working together (Exhibit 1, pages

8 and 9),

With one exception, Mr. Findlay believes that he realised that the Spear-Phishing
Emails were not genuine and therefore believes that he did not click on the links
contained in them. The exception is that Mr. Findlay recalls that he did click
through on the link in one of the first spear-phishing email he received, not
realising that it was malicious. Given how sophisticated the hacking campaign
against him appears to be, Mr. Findlay is also unable to say for sure that he did
not click on the links of other spear-phishing emails that he did not identify as
suspicious. Mr. Findlay is therefore unable to say for sure whether the hacking
campaign against him was successful. However, these hacking attempts,
combined with the intimidating correspondence received from Mr. Gerrard and
Dechert's solicitors (referred to above), caused him and his family significant

stress and anxiety.

In addition to receiving the Spear-Phishing Emails, in the period leading up to
the Dechert/SFO Trial, Mr. Findlay believes that his home was covertly

surveyed on several occasions by individual operatives, one of whom appeared

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to be filming his house, Having received covert surveillance training in his role
as a police officer, Mr. Findlay is capable of identifying this type of behaviour.
These events led him to believe that his and his family's security was at risk and

caused considerable distress to his wife and young daughter.
As a result of the above mentioned events:

(a) Mr. Findlay installed upgraded CCTV cameras and an access control

system at his home in June and July 2018;

(b) Mr. Findlay was referred to a specialist therapist and prescribed anti-

depressants for a period of two and a half years;
(c) his wife began receiving therapy; and

(d) Mr. Findlay was asked by colleagues to step away from the day-to-day
management of the company he ran at the time, Powerchord Limited (a

music technology business). ~

Mr. Findlay intends to claim damages against Mr. Gerrard and Dechert in the
Contemplated Proceedings so that he is recompensed for the losses he has

suffered arising from these matters.

PROCEEDINGS IMPLICATING MR. GERRARD, DECHERT, MR. DEL Rosso,
AND VITAL IN OTHER HACKING ATTEMPTS

For the reasons mentioned above, Mr. Findlay has always suspected that the
Spear-Phishing Emails were sent at Mr. Gerrard's instruction and he does not

believe that there is anyone else who would have had an interest in hacking him.

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However, without further evidence of Mr. Gerrard’s involvement, Mr. Findlay

did not pursue the matter at that time.

It is now’a matter of public record, however, as a result of various highly
publicised proceedings filed in England and the United States (“US”), that it
would appear Mr. Gerrard is implicated in multiple other hacking attempts
targeting his and his clients’ opponents. These proceedings have also yielded
evidence of the Respondents! apparent history of conducting cyber-attacks, such
as the attacks launched against Mr. Findlay, at the behest of Mr. Gerrard and

Dechert.

Further, ‘as set out below, Mr. Findlay has also been informed that evidence has
come to light that appears to confirm that the same Indian hacking company that
the Respondents apparently used to conduct other hacking attacks on the
instructions of Mr. Gerrard also prepared and sent the Spear-Phishing Emails to

him,

I should emphasise that Mr. Findlay is not a Plaintiff or Defendant to any of the
proceedings set out- below and the evidence set out below is drawn from

documents that are publicly available.

Background to the various legal actions against Mr. Gerrard and Dechert
I understand that the various legal actions I refer to in séction 5 above all stem
from Mr. Gerrard and Dechert's engagement, between 2014 and 2020, by the Ras

Al Khaimah Investment Authority (““RAKIA”), the investment authority of the

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Emirate of Ras Al Khaimah (“RAK”). I further understand, on the basis of the
publicly available statements of case served in the various legal actions, that that
the engagement involved, in general terms, Mr. Gerrard and Dechert assisting
RAKIA and the Ruler of RAK (the “Ruler”) in their investigation into RAKIA’s
former CEO, Dr, Khater Massaad, who was suspected of misappropriating
government funds. As part of their engagement, I understand that Mr, Gerrard
and Dechert also investigated known associates of Dr. Massaad such as Mr.
Farhad Azima (a US businessman) and Mr. Karam Al Sadeq (RAKIA’s former

General Counsel).

Mr. Azima and Mr. Al Sadeq subsequently issued proceedings in the English
Courts in 2016 and 2020, respectively, against Mr. Gerrard and Dechert in which
they allege (in their statements of case), among other things, that they were
targeted by hacking, phishing and spear-phishing attacks authorised by and/or
coordinated with the assistance of Mr. Gerrard and Dechert. J understand that the
English solicitors, Stokoe Partnership Solicitors (“Stokoe”), representing Mr. Al
Sadeq in his lawsuit against Mr. Gerrard and Dechert (the “Al Sadeq Claim”)
were also the targets of such attacks. Stokoe have separately issued proceedings
against Mr. Gerrard and Dechert for their involvement in these attacks. As I
explain further below, I understand that evidence disclosed in the proceedings
issued by Messrs. Azima, Al Sadeq and Stokoe directly implicates the
Respondents in the attacks targeting these individuals and suggests that they

were acting on the instructions of Mr. Gerrard and Dechert and/or with their

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involvement. Mr. Azima's most recent Particulars of Claim in his proceedings
are at Exhibit 5; the Particulars of Claim in the Al Sadeq Claim are at Exhibit

6.

Proceedings issued by Mr. Azima against Mr. Gerrard and Dechert

I understand, based on the statements of case served in Mr. Azima’s proceedings
against Mr. Gerrard and Dechert in the English Courts, that Mr. Azima (and
others associated with him, including Dr. Massaad) were targeted with over 150
spear-phishing emails in mid-2015, Over a year later, in late summer 2016, 30GB
of Mr. Azima’s hacked confidential and/or private data was posted online. As a
result of the following evidence disclosed in the proceedings, I understand that
Mr. Azima alleges that the Respondents, instructed by Mr. Gerrard and Dechert
(acting, in turn, at the behest of RAKIA and the Ruler), orchestrated this hack in
an effort to implicate Mr. Azima in Dr. Massaad’s alleged misappropriation

scheme:

(a) Based on bank statements and witness evidence filed in the proceedings,
Mr. Azima alleges that two Indian “hack for hire” firms, CyberRoot Risk
Advisory Private Limited (“CyberRoot”’) and Cyber Defence and
Analytics, were engaged by Vital to carry out hacking work for RAKIA.
Mr. Azima further claims that both firms were specifically instructed by
Mr. Del Rosso to hack Mr. Azima’s emails and computers and were paid
over $1 million by Vital for their services (Exhibit 5, pages 31-33),

RAKIA has admitted, in its Defence to Mr, Azima’s proceedings (Exhibit

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7), that the Respondents were engaged by Dechert to undertake work
relating to its investigation into Dr. Massaad and that this work included
instructing CyberRoot (Exhibit 7, page 11) (although RAKIA denies that

such instruction included hacking Mr. Azima); and

(b) According to an affidavit filed in the proceedings by Mr. Stuart Page (a
private investigator working for the Ruler), during the course of his
engagement with RAKIA, Mr. Gerrard and other advisors to the Ruler
were provided with regular “Project Update” reports prepared by an
Israeli intelligence company, Insight. These reports, which have belatedly
been produced in discovery in Mr. Azima’s proceedings, include extracts
from emails which were obviously hacked. According to Mr. Page (Mr.
Page’s affidavit is attached at Exhibit 8), efforts were made by Mr.
Gerrard and other advisors to the Ruler to conceal Insight’s work for
RAKIA and the Ruler from the English Courts. These efforts included Mr.
Gerrard leading a “mock trial” training session in Switzerland in
December 2019 during which he trained individuals to provide perjurious
evidence to the English Courts to cover up Insight’s involvement. Mr.
Page also reports that Mr. Gerrard told him during this trip to Switzerland:
“if they ever believe or prove that we are behind the hacking, then this
thing is going to drag on for years” (Exhibit 8, pages 9-10), I understand
that Mr. Azima alleges that this was clearly an admission by Mr. Gerrard

that RAKIA (with Mr. Gerrard’s involvement) had hacked Mr. Azima.
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5.10 Inhis latest Defence in the Azima proceedings in English Court, Mr. Gerrard has

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admitted receiving at least some of the Project Update reports but claims to be
unable to plead materially to the contents of the reports because of an alleged
weak memory and “difficulties in processing information efficiently, in

particular information from text” (while he was a Partner at Dechert) (Exhibit

9, page 35).

Mr. Azima has brought separate proceedings against the Respondents in respect
of the hacking in the United States District Court for the Middle District of North

Carolina.*

Proceedings issued by Stokoe against Mr. Gerrard and Dechert

Stokoe issued proceedings in the English Courts’ in summer 2021 against
various private investigators, Mr. Gerrard, and Dechert. Stokoe's Particulars of
Claim are at Exhibit 10. I understand, based on the statements of case filed by
Stokoe, that they allege that the phishing and spear-phishing attacks against them
in 2020 formed part of a wider campaign by Mr. Gerrard and Dechert, assisted
by the Respondents, to improperly obtain confidential information relating to Mr.
Al Sadeq’s source of funding for the Al Sadeq Claim (the “Stokoe Proceedings”).
I understand that this allegation is based on the following (documentary and

witness) evidence served in the Stokoe Proceedings:

 

M.D.N.C. Civil Case No. 20-cv-00954-WO-JLW.
Case Nos, QB-2020-002218 and QB-2020-002492.

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(a) In late January 2020, shortly after the Al Sadeq Claim was first issued,
Mr. Del Rosso called one of his private investigator contacts, Mr. Patrick
Grayson, to ask him to find out how Mr. Al Sadeq was funding the Al

Sadeq Claim;

(b) Further to Mr. Del Rosso’s call to Mr. Grayson, steps were taken by
various private investigators to obtain information about the funding of
the Al Sadeq Claim. Such steps included successful attempts in spring
2020 to access Stokoe’s main bank account and obtain transactional data,
as well as the copying of financial records from a bank account held by
Maltin PR (the public relations firm assisting Mr. Al Sadeq with the Al

Sadeq Claim);

(c) Parallel requests were made by Mr. Grayson in or about April 2020 to
obtain three months of corporate banking transactions of Hogan Lovells.
Hogan Lovells have no involvement in the Al Sadeq Claim, they do
however represent ENRC in its proceedings against Mr. Gerrard and
Dechert (as mentioned above). A few months later, in March 2020, Mr.
Grayson sent himself a chart showing alleged links between the various
individuals and entities depicted, including many entities connected to the
Al Sadeq Claim. The chart also references ENRC, its Luxembourg parent

company and Hogan Lovells;

(d) Around the same time, Clyde & Co (the English solicitors acting for Mr.
Gerrard and Dechert) wrote to Stokoe in April 2020 on Mr. Gerrard's

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instructions asking a series of questions about the funding of thé Al Sadeq

Claim and threatening an application for security for costs; and

(e¢) 1 understand that in light of the above, and the following, Stokoe allege,
in their statement of case, that Mr. Del Rosso’s enquiry to Mr. Grayson
was made pursuant to the instructions of Mr. Gerrard and/or Dechert: (i) at
the time of the attacks targeting Stokoe in 2020, the Respondents, Mr.
Gerrard and Dechert had a well-established professional relationship in
the context of their work together for RAKIA; (ii) Mr. Gerrard and
Dechert are defendants to the Al Sadeq Claim and therefore have an
interest in its funding (as confirmed by Clyde & Co’s letter at 5.13(d)
above), compared with the Respondents who have no obvious interest of
their own; and (iit) in light of their involvement in Mr. Azima's hack (as
explained above), Mr. Gerrard and Dechert had the means and propensity
to order such attacks and to rely on Mr. Del Rosso for his assistance to

carry out these attacks.

5.14 Mr. Al Sadeq and Stokoe. applied in February.2021 to the US District Court for
the Middle District of North Carolina for an order against the Respondents to
conduct discovery for use in the Stokoe Proceedings under 28 U.S.C § 1782.$
The order was granted in October 2021, with Mr. Del Rosso's motion to quash

being denied in March 2022. Mr. Del Rosso and Vital filed an objection to the

 

6 M.D.N.C. Mise. Case No. 1:21-mc-00006-UA-LPA.

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Magistrate Judge’s denial of the motion to quash, and that objection is currently

pending before U.S. District Court Judge William J. Osteen, Jr.

Recent developments

On 23 February 2023, my firm, Egan Meyer, received a letter from the English

solicitors acting for Mr. Azima, Burlingtons LLP, addressed to Mr. Findlay. In

that letter, Burlingtons set out “matters that have come to light in the course of

[Mr. Azima’s] investigations into the Indian ‘hack for hire’ firm, CyberRoot Risk

Advisory Private Limited”. A copy of this letter is at Exhibit 11; in summary:

(a)

(b)

(c)

(d)

Mr. Azima instructed a corporate investigations firm, Athena Intelligence
(“Athena”) in respect of his proceedings against Mr. Gerrard and Dechert.
The letter explained that Athena received an anonymous ‘Wetransfer’ link
on 21 November 2022 which appears to have been from a whistle-blower

at CyberRoot.

Athena analysed the data transferred to it and discovered what appeared

to be copies of malware and malicious spear-phishing emails.

That data shows that Mr. Azima had been targeted by CyberRoot with

those spear-phishing emails.

The data also shows that Mr. Findlay was a target of phishing hacks
instigated by CyberRoot: messages prepared and addressed to Mr.
Findlay's email address, cameron@powerchord.co.uk, appear within the

data provided to Athena (Exhibit 11, page 2).

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6.1

6.2

6.3

CONTEMPLATED PROCEEDINGS AGAINST MR. GERRARD AND DECHERT IN
THE ENGLISH COURTS

As explained above, Mr, Findlay intends to issue the Contemplated Proceedings
against Mr. Gerrard and Dechert (as directly or vicariously liable for Mr.
Gerrard’s wrongdoing), as the directing mind(s) behind the hacking campaign
against him, rather than the Respondents, whom Mr, Findlay does not expect to

be defendants to the contemplated proceedings.

Mr. Findlay is presently unable to say with certainty whether or not the Spear-
Phishing attacks against him were successful (although, as noted, he does recall
clicking through on at least one malicious link). This is a question that may only
be resolved through ‘the discovery process, including in the Contemplated
Proceedings. As matters stand, Mr. Findlay intends to bring a harassment claim
against Mr, Gerrard and Dechert founded on, among other things, the anxiety
and distress caused to him and his family by the hacking campaign. Naturally,
Mr. Findlay reserves his right to amend his claim against Mr. Gerrard and
Dechert to include a claim for misuse of confidential information to the extent

that evidence emerges that the attempts to hack him were successful.

I should also note, for completeness, (and without waiving privilege), that Mr.
Findlay has instructed lawyers to bring criminal.complaints in the appropriate
jurisdictions. Mr. Findlay also reserves his right to adduce any discovery

produced by the Respondents in support of any foreign criminal proceedings.

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6.4

6.5

As demonstrated by the above evidence, the Respondents are alleged, acting on
Mr, Gerrard’s instructions, to have played key roles in orchestrating the above
mentioned hacking, phishing and/or spear-phishing attacks targeting the
opponents of Mr. Gerrard and his clients, including Mr. Findlay. Accordingly,
upon information or belief, the Respondents have documents and information
that would constitute significant relevant evidence in the Contemplated

Proceedings, particularly with regard to the following key issues:

(a) the extent of the Respondents’ involvement in the sending of the Spear-

Phishing Emails;
(b) who the Respondents received their instructions from; and
(c) the motivation for sending the Spear-Phishing Emails.

So far as I am aware, there is no rule prohibiting a litigant in England from
seeking evidence through a 28 U.S.C. § 1782 or similar proceeding for use in
English proceedings. Rather, the English courts permit litigants to choose the
manner in which they obtain the evidence which they need to support their case,
which may include both documentary and testimonial evidence obtained from
U.S. 28 U.S.C. § 1782 proceedings, provided the materials comply with English
requirements regarding disclosure of evidence to opposing parties. I believe that
the English courts would be receptive towards any discovery ordered from the
Respondents to these proceedings, and that the English courts would permit Mr.

Findlay to rely on them in evidence at trial.

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Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws

of the United States of America that the foregoing is true and correct.

Executed in London, England
on the 24" of February, 2023.

 

 

James Meyer

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